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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                                AT OWENSBORO

                                     Electronically Filed


CYNTHIA GAY BORUM, as       )
Administratrix of the Estate)
of Nicole Alyce Borum       )
                            )
     PLAINTIFF              )
                            )
                                                               4:17-CV-17-JHM
v.                          )                     CASE NO.:
                            )
JUNG WOOK KANG SMITH, MD., )
DEACONESS CLINIC, INC.,     )
DEACONESS HOSPITAL, INC.    )
DEACONESS HEALTH SYSTEM, INC.)
                            )
     DEFENDANTS             )

______________________________________________________________________________

                            NOTICE OF REMOVAL
______________________________________________________________________________

       Defendants, Jung Wook Kang Smith, M.D., Deaconess Clinic, Inc., Deaconess

Hospital, Inc. and Deaconess Health System, Inc., by counsel, hereby remove and give

notice of removal of this action to the United States District Court for the Western District

of Kentucky, Owensboro Division, pursuant to 28 U.S.C. Sections 1332 and 1441 et seq., as

follows:

       1.     On January 12, 2017, there was commenced, and is now pending in the

Henderson County Circuit Court, Kentucky, a certain civil action styled Cynthia Gay Borum,

as Administratrix of the Estate of Nicole Alyce Borum v. Jung Wook Kang Smith, M.D, Deaconess

Clinic, Inc., Deaconess Hospital, Inc., and Deaconess Health System, Inc., and bearing Civil
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Action No. 17-CI-00018. This action seeks to recover compensatory and punitive damages

for the wrongful death of Nicole Alyce Borum under principles of medical negligence in

connection with medical care and treatment she received from June to September 2015 in

Henderson, Kentucky. The United States District Court for the Western District of

Kentucky has jurisdiction based upon the diversity of the parties, and Owesboro is the

proper jury division pursuant to Local Rule 3.1(b)(1).

       2.     Defendant, Deaconess Health System, Inc., was served with a copy of

Plaintiff’s Complaint on January 23, 2017, through the Indiana Secretary of State. Removal

is therefore timely under 28 U.S.C. Section 1446(b).

       3.     At all times relevant hereto, including the date of the incident and now,

Plaintiff, Cynthia Borum, has been and is a resident of Henderson, Henderson County,

Kentucky and a citizen of the Commonwealth of Kentucky.

       4.     Defendant, Jung Wook Kang Smith, is and was a resident of Vanderburgh

County, Indiana at the time of the alleged incident until the present. Defendants,

Deaconess Clinic, Inc., Deaconess Hospital, Inc., and Deaconess Health System, Inc. were

incorporated under the laws of the state of Indiana, and had their principal places of

business in Indiana in June - September 2015, the dates of the subject incident. Defendants

are still, as of the date of the filing of this Notice of Removal, incorporated under laws of

Indiana, and maintain their principal places of business in the state of Indiana. None of the

Defendants was at the time of the incident, nor at present, a citizen of Kentucky. Thus, this

Court has jurisdiction over this action under the provisions of 28 U.S.C. Section 1332

(“diversity” jurisdiction).
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         5.    Upon information and belief, including, but not limited to, the averments in

Plaintiff’s Complaint that her daughter, Nicole Alyce Borum suffered a wrongful death at

the age of 23 and has incurred medical expenses and loss of earning capacity, and that

Plaintiff seeks punitive damages against the Defendants the amount in controversy in this

action exceeds $75,000.00, exclusive of interests and costs. Accordingly, this action may

be removed into this Court pursuant to the provisions of 28 U.S.C. Section 1441.

         6.    Attached hereto are true and correct copies of all process and pleadings filed

in this action. To the best knowledge and belief of Defendants, no further proceedings

have taken place.

         7.    All Defendants have concurred with the removal of this action from state

court.

         8.    Defendants respectfully requests that this Court assume jurisdiction of this

case, and issue such further orders and processes as may be necessary to bring before this

Court all parties necessary for the trial hereof.

         9.    Written notice of the filing of this Notice of Removal will be provided to

Plaintiff and the Clerk for Henderson County Circuit Court, Kentucky, as required by law.


                       CERTIFICATION PURSUANT TO RULE 11

         The undersigned, as counsel for the Defendants, hereby certifies pursuant to Rule

11 of the Federal Rules of Civil Procedure that she has read the foregoing Notice of

Removal; to the best of her knowledge, information and belief, formed at the reasonable

inquiry, this Notice of Removal is well-grounded in fact and is warranted by existing law
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or good faith argument for the extension, modification or reversal of existing law, that it

is not interposed for any improper purpose such as to harass or to cause unnecessary

delays or needless increase in the cost of litigation.

       WHEREFORE, the Defendants provide notice that this cause of action, now pending

in Henderson County Circuit Court, Kentucky, has been removed to the United States

District Court for the Western District of Kentucky at Owensboro.


                                    Respectfully submitted,

                                    PHILLIPS PARKER ORBERSON & ARNETT, P.L.C.


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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of February, 2017, I electronically filed the
foregoing with the clerk of the court by using the CM/ECF system and served via U.S. Mail
to the following counsel:

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                                   /s/ Katherine T. Watts
                                   Katherine T. Watts
